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     Telephone: (602) 687-2010
 7   Attorneys for Plaintiff

 8                           UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF ARIZONA

10   Valentino Dimitrov, individually, and on Case No.: CV-23-00226-PHX-DJH
     behalf of all others similarly situated;
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12
                        Plaintiffs,
      vs.
                                                          DECLARATION OF GEORGE
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     Stavatti Aerospace, Ltd, a Minnesota                  CHEBAT IN SUPPORT OF
14   corporation; Stavatti Aerospace, Ltd, a             APPLICATION FOR ENTRY OF
     Wyoming         corporation;       Stavatti       DEFAULT AGAINST DEFENDANTS
15   Corporation, a Minnesota corporation;              STAVATTI NIAGARA LTD; JOHN
     Stavatti Immobiliare, Ltd, a Wyoming                  SIMON AND JEAN SIMON
16
     corporation; Stavatti Industries, Ltd, a
17   Wyoming corporation; Stavatti Niagara,
     Ltd., a New York corporation; Stavatti
18   Super Fulcrum, Ltd, a Wyoming
     corporation; Stavatti Ukraine, a Ukrainian
19   business entity; Stavatti Ukraine, a
20   Ukrainian business entity; Stavatti Heavy
     Industries Ltd, a Hawaii corporation;
21   Christopher Beskar and Maja Beskar,
     husband and wife; John Simon and Jean
22   Simon, husband and wife; William
     Mcewen and Patricia Mcewen, husband
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     wife; Rudy Chacon and Jane Doe Chacon,
24   husband and wife; and DOES 1 through
     10, inclusive,
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                      Defendants.
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 1
             I, George Chebat, declare under penalty of perjury that the following is true and
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     correct:
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             1.     I am one of the attorneys for Plaintiff and I am familiar with the file, records
 4
     and pleadings in this matter.
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             2.     The Complaint was filed on February 3, 2023. (Doc. 1)
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             3.     Defendant John Simon and Jean Simon, husband and wife was served on
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     February 23, 2023. And Defendant Stavatti Niagara, Ltd, a New York corporation was
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     served on February 23, 2023, as reflected in the proof of service filed on March 28, 2023.
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     (Doc. 7).
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             4.     Defendants Answer or other responses to the Complaint were due on or
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     before March 27, 2023.
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             5.     To date, the above-named Defendants have failed to plead or otherwise
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     defend within the time allowed and therefore are now in default.
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             6.     Plaintiff requests that the Clerk of the Court enter default against each of the
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     Defendants, jointly and severally.
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             7.     In compliance with the requirements of 50 U.S.C. § 520, I verify that to the
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     best of my knowledge, information and belief the Defendants are not in the military
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     service.
19
             WHEREFORE, the undersigned requests the Clerk of this Court to enter default of
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     the Defendants, Stavatti Niagara, Ltd; John Simon and Jean Simon.
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22
             DATED March 28, 2023.
23

24                                                      ENARA LAW, PLLC

25       `                                              By: /s/ George Chebat
                                                            George Chebat
26                                                          Joseph J. Toboni
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 1                                        Daniel de Julio
                                          Attorneys for Plaintiff
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